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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                       Case No. 2:13-cr-0016 GEB DAD P
                                                      [U.S. Court of Appeals for the Ninth
12                                                    Circuit Case No. 14-10308]
                           Respondent,
13           v.                                       [proposed] ORDER GRANTING
                                                      MOTION TO EXPAND
14                                                    APPOINTMENT OF COUNSEL FOR A
     CARLOS ALEJANDRO MENDOZA-                        LIMITED PURPOSE
15   VILLANUEVA,                                      OF CONSULTING THE CLIENT
                                                      REGARDING, AND COMPLYING
16                                                    WITH, THE COURT’S SEPTEMBER 26,
                           Movant.                    2014, ORDER CONCERNING MR.
17                                                    MENDOZA-VILLANUEVA’S PRO SE
                                                      2255 MOTION [18 U.S.C. § 3006A(a)(2)(B]
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19           The court hereby GRANTS the motion of movant Carlos Alejandro Mendoza-Villanueva

20   (ECF No. 75), for appointment of counsel for the following limited purpose.

21           IT IS HEREBY ORDERED that attorney Gene D. Vorobyov is appointed under the

22   Criminal Justice Act, 18 U.S.C § 3006A(a)(2)(B), for the limited purpose of consulting with his

23   client regarding, and actual compliance with, the Court’s September 26, 2014 order (ECF No.

24   71), with respect to Mr. Mendoza-Villanueva’s pro se motion to vacate, set aside or correct his

25   sentence pursuant to 28 U.S.C. § 2255, which was filed on June 25, 2014.

26   Dated: October 2, 2014
27
     DAD:4
28   mend0016.appt.cns.

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